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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
"i
JENNIFER LEIGH RYAN, CRIMINAL NO.: 1:21-CR-00050-1-CRC
Defendant.
STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Jennifer Ryan, with the concurrence of his attorney, agree and stipulate to the below factual basis
for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate
that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

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2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

4 As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior fagade of the building. The crowd was not lawfully authorized to enter or
remain in the building and, prior to entering the building, no members of the crowd submitted to
security screenings or weapons checks by U.S. Capitol Police Officers or other authorized security
officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of law enforcement, as others in the crowd
encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of more than $1.4 million dollars for repairs.

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7. Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the
United States Congress, including the joint session, were effectively suspended until shortly after
8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to
the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
without any security screening or weapons check, Congressional proceedings could not resume
until after every unauthorized occupant had left the U.S. Capitol, and the building had been
confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had
been secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

Jennifer Leigh Ryan’s Participation in the January 6, 2021, Capitol Riot
- 8. On or about January 5, 2021, Jennifer Leigh Ryan traveled from Denton, Texas to
Washington, D.C., with co-defendants Jason Hyland and Katherine Schwab.

9. On or about January 6, 2021, at approximately 1:41 p.m., Jennifer Ryan posted a
video on Facebook. In the video, Jennifer Ryan stated that she was going to “go down and storm
the Capitol.” Shortly thereafter, Jennifer Ryan posted another video on Facebook. During this
video Jennifer Ryan is walking towards the U.S. Capitol building.

10. Onor about January 6, 2021, at approximately 3:21 p.m., Jennifer Ryan along with
co-defendants Jason Hyland and Katherine Schwab are seen on surveillance footage entering the

U.S. Capitol building through the Rotunda door.

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11. While Jennifer Ryan is inside of the US. Capitol building in the Rotunda, Jennifer
Ryan is on video chanting with a crowd the following: “Fight for Trump!” During the video, U.S.
Capitol building fire alarms can be heard going off.

12. While inside of the US. Capitol building, Jennifer Ryan took numerous videos and
photos from the Rotunda.

13. On or about January 6, 2021, at approximately 7:28 p.m., Jennifer Ryan posted the
following statement to her Twitter account: “Today was a great example of what America is all
about.”

14. On or about January 7, 2021, at approximately 6:42 p.m., Jennifer Ryan posted the
following statement to her Twitter account: “We just stormed the Capit[o]l. It was one of the best
days of my life.”

15. Jennifer Ryan knew at the time she entered the U.S. Capitol Building that that she
did not have permission to enter the building and Jennifer Ryan paraded, demonstrated, or

picketed.
Respectfully submitted,

CHANNING D. PHILLIPS
Acting United States Attorney
D.C. Bar No. 415793

By: (s/FrancesE. Blake
AUSA FRANCES E. BLAKE

Assistant United States Attorney

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DEFENDANT’S ACKNOWLEDGMENT

 

I, Jennifer Leigh Ryan, have read this Statement of the Offense and have discussed it with
my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.

Date: “] / ay i. | Om
ifer Leigh Ryan
Defendant

 

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ATTORNEY’S ACKNOWLEDGMENT

 

Ihave read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

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Guy L. Womack
Attomey for Defendant

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